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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 ALICIA MICHELLE CHIVERS and     )
 CRAIG CHIVERS,                  )
                                 )
      Plaintiffs,                )
                                 )
      v.                         )                              CAUSE NO. 1:04-CV-00394
                                 )
 CENTRAL NOBLE COMMUNITY SCHOOLS )
 AND ITS EMPLOYEES, GERALD       )
 WELLMAN, and BRIAN GILLESPIE,   )
                                 )
      Defendants.                )

                                      OPINION AND ORDER

        After oral argument on July 25, 2005, defendants’ Motion to Quash Subpoena Duces

 Tecum of Attorney Jon Bailey was DENIED, and Bailey was ordered to submit to a deposition at

 the Fort Wayne federal courthouse no earlier than August 8, 2005, and no later than August 18,

 2005. (See Docket # 53.) This order will review the rationale for the denial of the motion to

 quash, and set forth certain restrictions in the nature of a protective order for the upcoming

 deposition.

                       FACTUAL AND PROCEDURAL BACKGROUND

        Plaintiffs Alicia Chivers (“Alicia”) and her father, Craig Chivers, filed a complaint on

 October 21, 2004, against Central Noble Community Schools (“CNCS”), and its employees,

 principal Gerald Wellman, and teacher Brian Gillespie, contending that defendants violated the

 provisions of Title IX, by discriminating against Alicia, who was a CNCS student, on the basis

 of her sex after Gillespie sexually harassed her. (Docket # 1, 31.) More specifically, Plaintiffs

 contend that CNCS and Wellman had actual knowledge of Gillespie’s actions and the authority

 to institute corrective measures, but were deliberately indifferent to Alicia’s right to be free of
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 Gillespie’s sexual misconduct. (Id.)

        Plaintiffs served a subpoena on Attorney Jon Bailey; Bailey provided legal advice to

 CNCS and Wellman during the investigation and subsequent remedial action of Gillespie, and is

 associated with the same law firm as CNCS’s and Wellman’s trial counsel in this case.

 (Renewed Mot. to Quash at Ex. A.) Specifically, the subpoena commands Bailey to submit to a

 deposition and to produce:

      All tape recordings, video recordings, electronic communications and written
      documents, including any notes and draft versions of documents, related to your
      participation in the investigation and action taken by Central Noble Community
      Schools in response to the Chivers complaints about Brian Gillespie’s conduct
      towards Alicia Michelle Chivers in October 2003 that have not previously been
      produced by the Defendants in this cause.

 (Id.) CNCS and Wellman moved to quash the subpoena, contending that it violated the attorney-

 client privilege, the work-product doctrine, and is disruptive to Bailey’s attorney-client

 relationship with CNCS and Wellman. (Docket # 38, 43.) After oral argument by the parties, the

 Court denied the motion to quash, but acknowledged its intent to issue a protective order sua

 sponte setting forth certain restrictions for the deposition. (Docket # 53.)

                                        LEGAL STANDARD

        The attorney-client privilege protects confidential communications between attorney and

 client. United States v. BDO Seidman, 337 F.3d 802, 810 (7th Cir. 2003). The Seventh Circuit

 applies the following general principles of attorney-client privilege:

        (1) Where legal advice of any kind is sought (2) from a professional legal adviser
        in his capacity as such, (3) the communications relating to that purpose, (4) made
        in confidence (5) by the client, (6) are at his instance permanently protected (7)
        from disclosure by himself or by the legal adviser, (8) except the protection [may]
        be waived.

 Johnson v. Rauland-Borg Corp., 961 F. Supp. 208, 210 n.5 (N.D. Ill. 1997) (quoting United

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 States v. White, 950 F.2d 426, 430 (7th Cir. 1991)). “Communications from the attorney to the

 client should be privileged only if the statements do in fact reveal, directly or indirectly, the

 substance of a confidential communication by the client.” Id. A claim of attorney-client

 privilege is not a blanket claim, but must be made and sustained on a document-by-document or

 question-

 by-question basis. Makula v. Sanwa Bus. Credit Corp., No. 96 C 7138, 96 C 7695, 1997 WL

 460935, at *2 (N.D. Ill. Aug. 8, 1997). “[T]he scope of the attorney-client privilege must be

 construed narrowly ‘to protect the search for the truth.’” Id. (quoting United States v. Hamilton,

 19 F.3d 350, 353 (7th Cir. 1994)). The attorney-client privilege may be waived by the client

 voluntarily disclosing the privileged information to a third person, or through asserting claims or

 defenses that put an attorney’s advice at issue in the litigation. Id.

         The work-product doctrine is broader than, and distinct from, the attorney-client

 privilege. Coltec Indus., Inc. v. Am. Motorists Ins. Co., 197 F.R.D. 368, 371 (N.D. Ill. 2000).

 The work-product privilege protects materials “prepared in anticipation of litigation.” Id.

 However, in contrast to the attorney-client privilege, the work-product privilege is a qualified

 privilege and may be overcome if “the party seeking production demonstrates both a substantial

 need for the materials and that it would suffer undue hardship in procuring the requested

 information some other way.” Jumper v. Yellow Corp., 176 F.R.D. 282, 285 (N.D. Ill. 1997).

                                            DISCUSSION

         CNCS and Wellman moved to quash Bailey’s deposition, asserting that the subpoena

 targets attorney-client privileged information and work-product privileged documents; they

 further contend they have asserted no defense which would cause waiver of these privileges.


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 (Renewed Mot. to Quash ¶¶ 5, 10.) In addition, they argue that the subpoena is disruptive to

 Bailey’s attorney-client relationship with CNCS and Wellman, and the command for production

 of documents is overly broad, unduly burdensome, and not reasonably calculated to lead to the

 discovery of admissible evidence. (Id. ¶¶ 11, 14.) CNCS and Wellman further contend that if the

 Court orders Bailey’s deposition to occur, Plaintiffs’ inquiry should be restricted to the time

 period of October 3, 2003, the date that the allegations were made known to CNCS, to October

 10, 2003, the date Alicia withdrew from CNCS, as any inquiry beyond this point would not have

 been for the benefit and safety of Alicia, but rather for the benefit of the general population and

 for purposes of disciplining Gillespie, neither of which are relevant to Alicia’s sexual harassment

 claim. (Reply Brief at 7.)

        Plaintiffs, however, disagree. They contend that while the requested information may

 indeed have been privileged, CNCS and Wellman waived the attorney-client privilege by

 asserting defenses that placed their counsel’s advice at issue during the deposition of Dr. Stone,

 the prior Superintendent of CNCS. (Response Brief at 4.) Furthermore, Plaintiffs assert that

 given Dr. Stone’s testimony, and because it can be anticipated that CNCS and Wellman will

 argue that they responded reasonably to Alicia’s complaints, the information Bailey possesses is

 vital. (Id.) After all, as Plaintiffs observe, they must prove that the defendants had actual

 knowledge of the sexually harassing conduct, and that the defendants’ response to it was “clearly

 unreasonable” under the circumstances. (Id.); see Davis v. Monroe County Bd. of Educ., 526

 U.S. 629, 630 (1999).

        After oral argument by the parties, the Court denied the motion to quash Bailey’s

 deposition because “it would be premature to quash a deposition based on [a blanket] assertion


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 of privilege.” Marco Island Partners v. Oak Dev. Corp., 117 F.R.D. 418, 419 (N.D. Ill. 1987);

 see generally Pharma, Inc. v. Kremers Urban Dev. Co., 361 F. Supp. 2d 770, 773 (N.D. Ill.

 2005) (“Motions to quash are within the sound discretion of the court.”). Rather, “the more

 appropriate method is to allow the deposition to be taken and permit the attorney to claim

 privilege in the face of certain questions, if necessary.” Marco Island, 117 F.R.D. at 419.

 Therefore, the Court ordered Bailey’s deposition to take place at the Fort Wayne federal building

 where it may rule on any objections as they arise during the deposition, and acknowledged its

 intent to issue a protective order to limit the subject matter of the deposition.

        As to the protective order, the Court has considered the competing interests in this case

 and has reviewed the portions of Dr. Stone’s deposition transcript placed in the record.

 Although defense counsel claim they have no intention of arguing that CNCS and Wellman were

 reasonable, or at least not “clearly unreasonable,” in consulting with their lawyers and obtaining

 advice, the problem goes deeper than that. (Reply Brief at 2.) Here, Dr. Stone did some of the

 investigating, but some of the investigating was done by counsel, and apparently by October 15,

 2003, by them alone. (Dep. of George Stone at 52, 58, 60.) This by itself would probably be

 enough to allow the inquiry of Bailey, but there is more. See Harding v. Dana Transport, Inc.,

 914 F. Supp. 1084, 1096 (D.N.J. 1996) (finding that defendant had waived the attorney-client

 privilege by fusing the roles of internal investigator and legal advisor). CNCS and Wellman

 apparently believe that the written reprimand they gave to Gillespie for engaging in

 correspondence with Alicia that “included sexual overtones and sexually provocative conduct”

 was a reasonable remedial measure, but this position has to be assessed in light of the fact that

 Dr. Stone, one of the investigators, does not know if such conduct violates CNCS’s sexual


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 harassment policy. (See id. at 73-74.) Indeed, CNCS did not even consider Alicia’s complaint

 about Gillepsie’s conduct, through her father, to be one of sexual harassment, but rather merely a

 charge of “inappropriate behavior.” (Id. at 40.) This nuance apparently came from CNCS’s

 attorneys, not Dr. Stone, who has no opinion about whether CNCS’s policy against sexual

 harassment was violated because, “I’m not an attorney, I don’t know.” (Id. at 73-74); see

 Makula, 1997 WL 460935 at *3 (determining that defendant waived the attorney-client privilege

 because, while his attorney denied that defendant would use the advice of counsel defense,

 defendant was clearly attempting to use it in his deposition); Chamberlain Group v. Interlogix,

 Inc., No. 01 C 6157, 2002 WL 467153, at *2 (N.D. Ill. March 27, 2002) (quoting Garcia v.

 Zenith Elecs. Corp., 58 F.3d 1171, 1175 n.1 (7th Cir. 1995)) (“The implicit waiver rule applies

 “when the client asserts claims or defenses that put his attorney’s advice at issue in the

 litigation”); Chevron Corp. v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992) (defendant

 cannot use the attorney-client privilege as both a sword to defeat plaintiff’s arguments and a

 shield to protect against disclosure of the basis for its affirmative defense).

        In short, Dr. Stone testified that he essentially turned the investigation of Alicia’s charges

 over to CNCS’s attorney (presumably, Bailey), and it was counsel who assembled the facts, drew

 the conclusions, and constructed the remedial response. (See Stone Dep. at 73-74; Reply Brief,

 Ex. 18.) To prevent Plaintiffs from discovering what was done by counsel and why, would be

 tantamount to giving CNCS and Wellman both the “sword” (i.e., the argument that “we were

 reasonable because we had our attorney’s investigate the charge and craft a response”) and the




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 “shield” (i.e., “what our attorneys did, and why they did it, is privileged”).1 Cf. Pray v. New York

 City Ballet Co., No. 96 Civ. 5723 RLC, 1998 WL 558796, at *2 (S.D.N.Y. Feb. 13, 1998)

 (determining that the attorney-client privilege was not waived when plaintiff was given access to

 all facts and aspects of the investigation, allowing plaintiff to sufficiently contest defendant’s

 assertion that its response to the sexual harassment claims was sufficient).

         Finally, the information requested by Plaintiffs is likely to speak directly to whether

 CNCS and Wellman had actual knowledge of all of the circumstances surrounding the

 allegations and whether their response to such allegations was “clearly unreasonable,” the two

 key elements in a Title IX claim. See Chevron, 974 F.2d at 1163 (stating that defendant “cannot

 invoke the attorney-client privilege to deny [plaintiff] access to the very information that

 [plaintiff] must refute” in order to prove their claim); Harding, 914 F. Supp. at 1096, 1103

 (finding that defendant placed the investigation of sexual harassment claim at issue and the

 doctrine of fairness dictated waiver of the attorney-client privilege to allow probing of the

 substance of the investigation). Likewise, as to work product, Plaintiffs have requested materials

 pertaining to CNCS’s investigation and remedial action of Alicia’s allegations, information

 which is directly relevant to Plaintiffs’ cause of action and which Dr. Stone was patently unable

 to provide. (See Renewed Mot. to Quash, Ex. A.; Stone Dep. at 40, 52, 60, 73, 74, 84, 85.)

         As a general consideration, while Bailey practices with the same law firm as defense

 counsel in this case, Bailey is not appearing here as trial counsel. Furthermore, even if he was,

 as discussed supra, the Court finds that no other means exist to obtain the requested, indeed


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           Dr. Stone indicated that the Division of Family and Children, Noble County Prosecutor, and Indiana State
 Police also investigated the allegations; these investigations, however, were conducted with a view that criminal
 charges might be brought, not with the purpose of determining a reasonable remedial response by CNCS to Alicia’s
 allegations. (See Stone Dep. at 52.)

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 important, information. See generally Cook, Inc. v. C.R. Bard, Inc., No. IP 00-1791-C(B/S),

 2003 WL 23009047, at *2 (S.D. Ind. Sep. 18, 2003) (finding that depositions of opposing

 counsel are appropriate in limited circumstances); Joslyn Corp. v. RTE Corp., No. 86 C 2319,

 1988 WL 102104, at *1 (N.D. Ill. 1988). Therefore, CNCS’s and Wellman’s argument that

 Bailey’s deposition should not take place because it will disrupt the attorney-client relationship,

 is defeated by the factors weighing in favor of proceeding with the deposition.

        Therefore, considering all of the foregoing, the Court sua sponte orders that Bailey’s

 deposition will be limited to inquiring about his knowledge concerning the investigation and

 actions taken by CNCS in response to Plaintiffs’ complaints about Gillespie’s conduct towards

 Alicia in October 2003. The deposition, however, will not be limited temporally (i.e., to events

 occurring between October 3, and October 10, 2003) as CNCS and Wellman requested, given

 that the investigation of Alicia’s charges did not begin until October 9, 2003. (See Stone Dep. at

 72.) Moreover, there is some indication that although Alicia withdrew from CNCS on October

 10, 2003, she and her father continued to discuss the matter with Wellman afterward to

 determine “what was going on in the matter.” (Reply Brief, Ex. 18.) This suggests that Plaintiffs

 were truly interested in the remedial measures CNCS would undertake, presumably with a view

 to eventual re-enrollment. This makes CNCS’s and its counsel’s conduct relevant, at least until

 Plaintiffs learned of Gillespie’s reprimand.

                                         CONCLUSION

        Therefore, for the reasons stated herein, the Court affirms the denial of the renewed

 motion to quash (Docket # 43), and ISSUES sua sponte a protective order in favor of CNCS and

 Wellman to limit Bailey’s deposition to inquiring about his knowledge concerning the


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 investigation and action taken by CNCS in response to Plaintiffs’ complaints about Gillespie’s

 conduct towards Alicia Chivers in October 2003.

        SO ORDERED.

        Enter for this 4th day of August, 2005.


                                                       /S/ Roger B. Cosbey
                                                       Roger B. Cosbey,
                                                       United States Magistrate Judge




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